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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
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SECURITIES AND EXCHANGE COMMISSION :
                                                               :
                           Plaintiff,                          :
                                                               :   Case No. 1:10-CV-457
         vs.                                                   :   (GLS/CFH)
                                                               :
McGINN, SMITH & CO., INC.,                                     :
McGINN, SMITH ADVISORS, LLC                                    :
McGINN, SMITH CAPITAL HOLDINGS CORP., :
FIRST ADVISORY INCOME NOTES, LLC,                              :
FIRST EXCELSIOR INCOME NOTES, LLC,                             :
FIRST INDEPENDENT INCOME NOTES, LLC, :
THIRD ALBANY INCOME NOTES, LLC,                                :
TIMOTHY M. McGINN, AND                                         :
DAVID L. SMITH, GEOFFREY R. SMITH,                             :
Individually and as Trustee of the David L. and                :
Lynn A. Smith Irrevocable Trust U/A 8/04/04,                   :
LAUREN T. SMITH, and NANCY McGINN,                             :
                                                               :
                           Defendants,                         :
                                                               :
LYNN A. SMITH and                                              :
NANCY McGINN,                                                  :
                                                               :
                           Relief Defendants. and              :
                                                               :
GEOFFREY R. SMITH, Trustee of the                              :
David L. and Lynn A. Smith Irrevocable                         :
Trust U/A 8/04/04,                                             :
                                                               :
                           Intervenor.                         :
---------------------------------------------------------------x

                 NOTICE OF SEVENTEENTH INTERIM APPLICATION OF
                    CHIAMPOU TRAVIS BESAW & KERSHNER LLP
                             FOR APPROVAL OF FEES

                 PLEASE TAKE NOTICE that upon the Seventeenth Interim Application of

Chiampou Travis Besaw & Kershner LLP (“Chiampou”) for Approval of Fees (“Application”),

Phillips Lytle LLP as counsel to William J. Brown, Receiver, on behalf of the Application of
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Chiampou will move before the Hon. Christian F. Hummel, United States Magistrate Judge,

United States District Court for the Northern District of New York, James T. Foley U.S.

Courthouse, 445 Broadway, Room 441, Albany, New York 12207, on a date to be scheduled by

the Court, seeking an Order approving the Application of Chiampou for interim compensation

and reimbursement of expenses in connection with accounting, tax and consulting services

performed for William J. Brown, as Receiver for the McGinn Smith Entities in this action. No

oral argument is requested.

                  PLEASE TAKE FURTHER NOTICE that objections, if any, to the relief

requested in the Application must be made in writing in accordance with the Federal Rules of

Civil Procedure and the Local Rules for the United States District Court for the Northern District

of New York.

Dated: Buffalo, New York
       March 17, 2022
                                  PHILLIPS LYTLE LLP

                                  By   /s/ William J. Brown
                                             William J. Brown (Bar Roll #601330)
                                             Catherine N. Eisenhut (Bar Roll #520849)
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